Case 4:20-cv-03664-YGR Document 726-1 Filed 08/30/22 Page 1 of 8




             EXHIBIT 2
 Case 4:20-cv-03664-YGR Document 726-1 Filed 08/30/22 Page 2 of 8



                                             Pages 1 - 75

                    UNITED STATES DISTRICT COURT

                  NORTHERN DISTRICT OF CALIFORNIA

Before The Honorable Yvonne Gonzalez Rogers, Judge

PATRICK CALHOUN, ET AL.,           )
                                   )
            Plaintiffs,            )
                                   )
 VS.                               )     NO. CV 20-05146-YGR
                                   )
GOOGLE LLC,                        )
                                   )
            Defendant.             )
                                   )

                               Oakland, California
                               Friday, August 26, 2022

                     TRANSCRIPT OF PROCEEDINGS

APPEARANCES:

For Plaintiffs:
                           BLEICHMAR FONTI & AULD LLP
                           555 12th Street, Suite 1600
                           Oakland, CA 94607
                     BY:   LESLEY WEAVER, ESQUIRE
                           ANGELICA MARIA ORNELAS, ESQUIRE

                           DICELLO LEVITT GUTZLER LLC
                           One Grand Central Place
                           60 East 42nd St., Suite 2400
                           New York, NY 10165
                     BY:   DAVID A. STRAITE, ESQUIRE
                           CORBAN S. RHODES, ESQUIRE

                           DICELLO LEVITT GUTZLER
                           Ten North Dearborn Street
                           Chicago, IL 60602
                     BY:   ADAM PROM, ESQUIRE


Reported By:         Pamela Batalo-Hebel, CSR No. 3593, RMR, FCRR
                     Official Reporter
 Case 4:20-cv-03664-YGR Document 726-1 Filed 08/30/22 Page 3 of 8



APPEARANCES CONTINUED:

                           SIMMONS HANLY CONROY
                           231 S. Bemiston Avenue, Suite 525
                           St. Louis, MO 63105
                     BY:   JAY BARNES, ESQUIRE

                           SIMMONS HANLY CONROY
                           112 Madison Avenue, 7th Floor
                           New York, NY 10016
                     BY:   AN V. TRUONG, ESQUIRE

                           SIMMONS HANLY CONROY
                           One Court Street
                           Alton, IL 62002
                     BY:   JENNIFER M. PAULSON, ESQUIRE

For Defendant:
                           QUINN EMANUEL URQUHART SULLIVAN LLP
                           191 N. Upper Wacker Drive, Suite 2700
                           Chicago, IL 60606
                     BY:   ANDREW H. SCHAPIRO, ESQUIRE
                           JOSEPH H. MARGOLIES, ESQUIRE

                           QUINN EMANUEL URQUHART SULLIVAN, LLP
                           865 South Figueroa Street, 10th Floor
                           Los Angeles, CA 90017
                     BY:   VIOLA TREBICKA, ESQUIRE
                           STEPHEN BROOME, ESQUIRE
                           ALYSSA G. OLSON, ESQUIRE

                           QUINN EMANUEL URQUHART SULLIVAN, LLP
                           1300 I Street NW, Suite 900
                           Washington, DC 20005
                     BY:   XI GAO, ESQUIRE
      Case 4:20-cv-03664-YGR Document 726-1 Filed 08/30/22 Page 4 of 8   71



1    back.   I'm going to consider everything again based upon your

2    arguments.   If I want briefing or if I want additional

3    argument, I promise you I will let you know.         Okay.

4         Yes?

5              MR. BROOME:    Your Honor, may I respond to the Opperman

6    point that Mr. Barnes raised?

7              THE COURT:    No.

8         Okay.   Is there anything else -- the motions are deemed

9    submitted.

10        Is there anything else that I need to talk to you all

11   about while you're here?

12             MR. SCHAPIRO:    Your Honor, we were wondering -- I

13   don't know if Your Honor knows yet -- whether you anticipate

14   that the arguments on the class certification motions in Brown

15   are going to stay on the schedule for September 20th because it

16   affects a few other things we're doing.        We're assuming it is,

17   and we are going full speed ahead.

18             THE COURT:    Well, I've got three trials in September.

19   Do you want to push it over?

20             MR. SCHAPIRO:    Yeah.   I think we would be perfectly

21   content with that, Your Honor.

22             THE COURT:    Isn't this -- okay.

23             MR. BARNES:    We can't speak on behalf of Brown.

24   Mr. Mao is here from Brown.

25             THE COURT:    All right.    Mr. Mao, come on up.
      Case 4:20-cv-03664-YGR Document 726-1 Filed 08/30/22 Page 5 of 8        72



1              MR.MAO:    Sorry, Your Honor.

2              THE COURT:    No apologies.

3              MR. MAO:   This is Mark Mao, Boies Schiller Flexner,

4    for the Brown plaintiffs in a separate case.

5         I know, Your Honor, that there was no mention that they

6    were going to be trying to seek a continuance today.          In fact,

7    we actually have a stipulation in principle with the other side

8    saying that they would not be seeking such a continuance.           We

9    have emails on that, Your Honor.

10             THE COURT:    Well, this is really a question about me,

11   not about you.

12             MR. MAO:   I appreciate that, Your Honor.

13             MR. BROOME:    I think really it is a question for you,

14   Your Honor.   And Mr. Mao is correct.       We had asked for an

15   extension on another Daubert motion that they had filed which

16   is noticed for the 27th.      We would assume it would make sense

17   to hear that together, but we did agree that we would not seek

18   a continuance.

19             THE COURT:    Okay.   I always -- I always put things on

20   the same date, just because it makes no judicial sense to have

21   cases where -- I mean, if I'm going to work on one case, I'm

22   going to work on all the motions relative to that case.

23        So are you currently scheduled for argument on both the

24   20th and 27th?

25             MR. BROOME:    That is correct.
      Case 4:20-cv-03664-YGR Document 726-1 Filed 08/30/22 Page 6 of 8         73



1               MR. MAO:   That is because we didn't think that the

2    Daubert and motions to strike were necessary to decide --

3               THE COURT:    It doesn't matter.    Did you not hear what

4    I just said?    When I look at a case, I look at everything

5    relative to that case.      That's efficient.    Okay.    And I have

6    three trials before then.

7           So everything is getting moved to the 27th, and whether it

8    stays on the 27th, it depends.       I don't know.    I'm not there

9    yet.

10              MR. BROOME:   Understood.

11              MR. SCHAPIRO:   Your Honor, with apologies, the 27th, I

12   believe, is the second day of Rosh HaShanah which my family

13   observes, so I wouldn't be able to travel or work on that day.

14   Others can handle it, I'm sure, but just flagging that -- any

15   day one or two after or before, but -- I'm sorry to bother

16   Your Honor with that.

17              THE COURT:    I'm pulling up my calendar.      When is Rosh

18   HaShanah?

19              MR. SCHAPIRO:   The 26th and 27th are the two days on

20   which one is not supposed to work.

21              THE COURT:    I can put you on for October 4th.          Any

22   conflicts?

23              MR. MAO:   I would have to grab my calendar,

24   Your Honor.    Sorry.

25              THE COURT:    You all go -- go and meet and confer and
      Case 4:20-cv-03664-YGR Document 726-1 Filed 08/30/22 Page 7 of 8        74



1    make sure that that works.

2              MR. BROOME:    I actually do have a conflict.

3              THE COURT:    Go and meet and confer and tell me what

4    works.

5              MR. BROOME:    Okay.   And tell you what works.

6    Understood.

7              THE COURT:    Well, after you said you have a conflict,

8    figure it out.    I'm not apparently going to decide it right

9    now, but I do put everything on the same day.

10             MR. MAO:   If I may ask, which may help this, are you

11   only willing to -- are you only able to do that on Fridays

12   because these are all Fridays.

13             THE COURT:    No.   Those are Tuesdays.     My standard law

14   and motion calendar is Tuesday.       The reason you're here on a

15   Friday is because I inherited this case.        It's been on my

16   backlog, and I had to specially set it to get it in.           Typically

17   I don't do this on Fridays.

18             MR. MAO:   Okay.

19             THE COURT:    We will find a day.     Don't worry.        But it

20   will all be together.     It will not be separate.

21             MR. BROOME:    Thank you, Your Honor.

22             THE COURT:    Anything else?    No?   All right.    Then

23   everybody stay safe.

24             MR. BROOME:    Nothing from us.

25             THE COURT:    We'll stand in recess.
      Case 4:20-cv-03664-YGR Document 726-1 Filed 08/30/22 Page 8 of 8



1

2

3                           CERTIFICATE OF REPORTER

4              I certify that the foregoing is a correct transcript

5    from the record of proceedings in the above-entitled matter.

6

7    DATE:   Monday, August 29, 2022

8

9
     ____________________________________________
10   Pamela Batalo Hebel, CSR No. 3593, RMR, FCRR
     U.S. Court Reporter
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25
